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 1                                                                              Hon. Ricardo S. Martinez
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 7
                                  UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
 9
                                               AT SEATTLE
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11
     THE UNITED STATES OF AMERICA,                       No. CR 06 – 038 RSM

12          Plaintiff,                                   ORDER GRANTING DEFENDANT
                                                         SUKHVEER SANDHU’S MOTION TO
13          v.                                           CONTINUE PRETRIAL MOTIONS
                                                         DEADLINE & TRIAL DATE
14   SUKHVEER SANDHU,
15
            Defendant.
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17          The Court, having reviewed Defendant Sukhveer Sandhu’s Motion to Continue Pretrial
18   Motions Deadline and Trial Date, and the government’s response to the motion, finds that,

19   pursuant to Title 18, United States Code, Sections 3161(h)(8)(A) and (B)(iv), the ends of justice

20   served by granting the requested continuance outweigh the best interest of the public and
21   defendant in a speedy trial, for the reasons outlined in defendant’s motion. Specifically, it
22   appears to the Court that the failure to grant a trial continuance would effectively deny defense
23   counsel the reasonable time necessary for effective preparation, taking into account the exercise
24   of due diligence.
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     ORDER GRANTING DEFENDANT SUKHVEER                                  LAW OFFICES OF STEPHAN R. ILLA, INC. P.S.
     SANDHU’S MOTION TO CONTINUE PRETRIAL                                           600 FIRST AVENUE, SUITE 433
     MOTIONS DEADLINE & TRIAL DATE - 1                                                      SEATTLE, WA 98104
                                                                                                 (206) 464-4142
                Case 2:06-cr-00038-RSM        Document 92     Filed 06/02/06        Page 2 of 2



 1             IT IS THEREFORE ORDERED that the trial date of June 5, 2006 is continued to
 2   Tuesday, September 5, 2006, and the motions deadline is extended to July 24, 2006, subject to
 3   defendant filing a Waiver of Speedy Trial.
 4             IT IS FURTHER ORDERED that the period of delay from June 5, 2006 until Tuesday,
 5   September 5, 2006 is excludable time pursuant to Title 18, United States Code, Section
 6   3161(h)(8)(A), for the purpose of computing the time limitations imposed by the Speedy Trial
 7   Act, Title 18 United States Code, Sections 3161 through 3174.
 8             ORDERED this 2nd day of June, 2006.
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                                                  RICARDO S. MARTINEZ
12                                                UNITED STATES DISTRICT JUDGE
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15   Presented by:

     LAW OFFICES OF STEPHAN R. ILLA
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     Stephan R. Illa
19   WSBA No. 15793
     Attorney for Defendant Sukhveer Sandhu
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     ORDER GRANTING DEFENDANT SUKHVEER                               LAW OFFICES OF STEPHAN R. ILLA, INC. P.S.
     SANDHU’S MOTION TO CONTINUE PRETRIAL                                        600 FIRST AVENUE, SUITE 433
     MOTIONS DEADLINE & TRIAL DATE - 2                                                   SEATTLE, WA 98104
                                                                                              (206) 464-4142
